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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
               Plaintiff,

v.                                                            Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL, et al
         Defendant.

                                             ORDER

       IT APPEARING TO THE COURT:

       1.      On June 8, 2020, Plaintiff, R.M.S. Titanic, Inc. (“RMST” or the “Company”)

filed in this Court its Motion for entry of an Order, pursuant to Local Rules 83.1(D)(3) and 83.1(G),

granting its pro hac vice counsel, David G. Concannon, Esquire, leave to withdraw his appearance

on behalf of RMST.

       2.      Mr. Concannon’s admission pro hac vice was approved by the Court in an Order

dated December 18, 2019 (Doc. No. 583), pursuant to an application to admit Mr. Concannon as

pro hac vice counsel filed by RMST on December 17, 2019. (Doc. No. 584.)

       3.      There are no further matters pending before the Court that require Mr. Concannon’s

specialized subject matter expertise. Accordingly, RMST and Mr. Concannon seek leave of the

Court to allow Mr. Concannon to withdraw his appearance as pro hac vice counsel to RMST.

       4.      RMST is still capably represented by Brian A. Wainger, Esquire (VSB #38476) of

Kaleo Legal in Virginia Beach, Virginia, and David G. Barger (VSB #21652) of Greenberg

Traurig, LLP in McLean, Virginia.
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       5.     Mr. Concannon has complied with the reasonable notice provisions of Local Rule

83.1(G).

       ACCORDINGLY, IT IS HEREBY ORDERED:

       A.     RMST’s Motion is hereby GRANTED, and

       B.     RMST’s pro hac vice counsel, David G. Concannon, Esquire, is GRANTED leave

to withdraw his appearance on behalf of Plaintiff RMST.



                                    ____________________________________
                                    Hon. Rebecca Beach Smith
                                    United States District Court
                                    for the Eastern District of Virginia


       ____________, 2020
       At Norfolk, Virginia




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